 

 

Case: 1:17-cv-02025 Document #: 68-1 Filed: 02/28/18 Page 1 of 24 PagelD #:667

EXHIBIT A
 

 

Case: 1:17-cv-02025 Document #: 68-1 Filed: 02/28/18 Page 2 of 24 PagelD Oo ;
02/21/2017 1:53 PM FAX 7733849091+ 0001/0023

PNC Customer Assistance
866-622-2657

Fax Number; 866-641-2691 __

   

Home Equity Account Number: 4489618321280080

 

If you are experiencing temporaty or long-term financial hardship and need help, please complete and submit all required documentation to
PNC,

When you sign and date the Customer Hardship Assistance Package, you will make important certifications, representations and
agreements, including certifying that all of the Information Is accurate and truthful.

Horne Phone:

Borrower's Mailing Address

(if same ag Borrower's adelress, jusl write “same")
1435 N Paulina St Apt 601, Chieaga, iL, 606221195

y (if same a the
1044 N Walcott Ave # 1, Chicago, 1L, 60622

on page

Ci] here are additional Co-Borrowers, Ifyou have additional Co-Borrowers, please provide this infarrnation an a separate sheet.
(J Ifyou have a Recorded Power of Attorney, include a copy of the Power of Attorney documentation.

Number of People ae D. Number of Vehicles: 9.
Keep the Property —.@ Vacate the Property © Sellthe Proparty © Undecided
The property is my: © Primary Residence nan Home/Seasonal Rental WA

I want to:

‘carRound Rental/investment
The property Is: = Owner Occupied Tenant Occupled © Vacant @ Other:

 

 
   

INCOME DOCUMENTATION
PNC may request additional documentation to complete your evaluation,

| Employment Status - To be Provided for each Borrower, as Applicable

 

Wage Earner Self-Employed
C] Hire Date of Mast Recent Employrnent (] lederal lax return completed & signed, Include all schedules,
Borrower / of Co-Borrower / f
ab Ma OD ww Twa mast recent years of your Business federal tax return,
[1] including K1, Fapplicable, completed & signed, Include all
oj Most recent pay stubs showing at [cast 30 days af year-to-date schedules. PP 9
income
Six most recent bank statements (checking and savings) - Including Either the most recent signed & dated quarterly or year-to-date
all pages, ever blank pages [7] Profit & Loss statement that rellects activity for the most recent
— . twalve months,

CE] Two most recent W2s
OR Six most recent bank stalernents for the business account-

0 f pay stub dues not reflect year-to-date earnings, then provide a tI include all pages, even blank pages.
signed letter or printout from employer

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02/21/2017 1:54 PM FAX 7733849091+ (4000270023

PNC Customer Assistance
866-622-2657

Fax Number: 866-641-269)

 

aT Cel Le Key Acme TEAS ees LL
Home Equity Account Number: 4489618321280050

   

UNcoieeleiatrwen

 

| Source of Additional Household Income.- to:be provided for each borrower and/or contributing party, as applicable

 

Cl Tips, commission, bonus, housing allowance, overtime « Provide all documentation for the following;
T] Written description of the lype of Income and frequency of receipt of income signed & dated

CC] Third-party documentation describing income (e.g. paystub, ermployrnent contracts, tip incorne dacuments)
CO Two most recent bank statements -include all pages, even blank pages

Social Security, disability, death benefits, pension, public assistance or adoption assistance - Provide all docurnentation for the
o followi ¥ 4
‘ollowing:

C1 Receipt of payrnent (eg, two most recent bank statements -include all pages, even blank pages or deposit advances)

Cl Alimony, child support or separate maintenance payments « Provide all dacumentatian for the fallowing:
Notice: Please know that you're not required to disclose Child Support, Alimony, or Separate Maintenance income, unless you
choose to have it considered for this application.
cl Divorce decree, separation agreement or other written legal agreement filed with the court that states the amount of the payrnents &
period of time that you are entitled to receive them

Cl Copies of two most recent bank statements - include all pages, even blank pages or deposit advances showing you received payment

 

| Rental properties income that is not your primary residence - Provide all documentation for the following:

 

({] Most recent federal tax retarn with all schedules, including Schedule E

C] OR current lease agreement with bank statements showing deposit of rent checks-include all pages, even blank pages

 

| investment Income - Provide all doguinentation forthe following:

 

‘Two most racent monthly or quarterly investment statements for any 401Ks, mutual funds, stocks, bonds, COs, IRAs, etc, Fany of
(C] this Income Is being used as household Income, please provide two most recent bank statements showing deposit amounts -
Including all pages, even blank pages

 

 

o Two Most recent months of the borrower's bank statements showing the non-borrower's contribution being deposited regularly-
include all pages, even blank pages. ‘

(C] Signed and dated contribution letter from the non-borrower Indicating amount contributed to the household.

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02/21/2017 1:54 PM FAX

 
 
 
 

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PNC Customer Assistance
866-622-2657

Fax Number: 866-641-2691

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Monthly Household income. __._ Monthly Household Expenses/Debt Household Assets
Monthly Net Wagers $ S, 16% Firat Marlgage Payment-Primary Residence 5 O67 Checking Account(s) 5 a ovo
Self Crnployment income — |§ second Morigage Payrnent-Primary Residence S oN 1 Savings/Money Market $ of 500
Tips, commissions, & banus 1S Fd #4 Property Taxes Cacrowed? Cives [& obs CDs $ 40.900
Net Rental Income >< FIBF | Homeowner's Insurance Escrawed? CAVES 14 ‘G6 Stacks/Honds 5 45. eo
401K Income (f retirer) $ Mortgage Payments other properties*** 5 Retirement Accounts 4 909 j a4
Stocks/Sonds Income $ Other Liens § Other Cash an Hand $ ’
Unermpt nt Income § do Foas/f i & 0? | Vz all Real Es “tig
ae — 5 sn ——— en § A ce = pai ween us NG NG P
Child Support* § Auto Expenses 4 BY. ib Cather (eleserilse tselowy) °
Allmony* § Auta Insurance 5 Hs
Overtime § Credit Cards/installment | ants} §

Tawable Social Security, ; (total mintmum piv per month)
annuity, retremerd Income Food $ qt 0
Food Stamps/Welfare § Utilities (G/EAV) $ / yoy
Gross Rents Received 5 Medical (co-pays and monthly prescriptions) 5 / EX8)
Untaxad Saclal Security/S5D 1 Telephone § Aa
Other (describe below): § Cell Phone § Ae o
internet 3
Cable * {9
Child Care/Tuttion $
Child Suppart/Alimony Payments 5
Payroll eduction Meds cal 3 FED
Flood Instance CAYES [6
Other (describe below); 3
BUI
Total Monthly Income is fen Total Debt/Expensas is 54 34 Total Assets 5
'

 

 

 

* Alimony, child support or separate maintenance income recd not be disclosed {you do not chawue te have it considered far thls application,

* tnciude rental Income received from ull properties yout own EXCEPT a property for which you are sacking hardship asestance,

“Include mertguye payments an all properlies you awn FXCERT your principal reddence and the property for whieh you are seeking hardship assistance,

PM-O2
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PNC Customer Assistance

E 866-622-2657
Fax Number: 866-641-2691

Uniform srelageniastg NTS Ries nce Form

 

Home Equity Account Number: 448961832 1280050

iene

 

is the property listed forsale? 0 Yes @No |! you have additional properties fur sale, please list these properties and the information

below on a separate sheet of paper.
lf YES, please complete the following:

For Sale by Qwriet? © Yes O No Oinclude a capy of the Listing Agreement, if applicable Agent's Name

List Date: /_ fe, Include a copy of the Purchase Agreement, ifapplicable — Phune Number) -
Mi 14? yyy

 

 

 

(1 if Applicable, include a Letter from your first mortgage holder showing payoff amount OR ["] Mortgage statement showing current balance
[7] !fyour property is in 4 flood zone, please provide a copy of your [loud insurance policy

 

 

(2) include a copy of your Homeowners Insurance Policy [) include a copy of your mast recent tax bill(s)
(1) if you have any tax delinquencies, please provide documentation showing delinquent ammount details

 

if you wish to sign an Authorization to Release Information - Please Review and Sign below to allow third-party correspondence:

We hereby authorize PNC to rolease Information and to discuss the terms of my harne equity account, This iricludes, but Is not limited to, the
negotiation of the sale of my house to (list company name) and Its employees including but not limited La

 

 

 

 

 

 

 

at phone and e-mail
[his authorization shall remain in effect until revoked in writing.
LORI WIGOD
Borrower's Signature Borrowers Printed Name Date
Co-Borrawers Signature

 

Co-Borrawer'’s Printed Name Date

   
 

Savane On reer ce

 

  
 
 
 
   

payment of the agreed upon proceeds (rogy the sale of my/our property. Because it is a short sale, the amount that will be paid to your
creditor Is less than the balance owed on my/ayr home equity account, Unless prohibited by applicable lays
for thé repayment of the remaining balance on ft 5

bankruptcy proceeding under the U.S. Bankruptcy Cede,

 

 

 

 

 

LORI WIGOD
Borrower's Signature ea Borrower's Printed Name ee Date
Co-Borrower's ai Co-Borrower's Printed Name Date

 

GOVERNMENT SPONSORED ENTERPRISE AUTHORIZATION ...

Authorization to PNC to determine If mortgagee is a Guvernment Sponsored Crnterprise: As the owner of the proper ly, Ave hereby give my/
our consent to PNC Bank, National Association, lo search the Federal Home Loan Mortgage Corporation (“Freddie Mac") and Federal National
Mortgage Astociatiag (‘Fannie Mae") website to determing if | reddie Mac or Farinie Mae owns any of the mortgages on the aforementioned
Property, whether seryiced by PNC Bank ar another loan servicer.

(y) U wl LORI WIGOD 813) ay 1,

Borrower's Printed Name Date

 

  

 

Co-Borrower's signature

 

 

Co-Borrower's Printed Name Date

 

 

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Case: 1:17-cv-02025 Document #: 68-1 Filed: 02/28/18 Page 6 of 24 PageID yee e 10023
02/21/2017 1:56 PM FAX 7733849091+ 0005/7002

TC “§E—p =| ~~ = PNC Customer Assistance
eps ce ee i | 866-622-2657
ska ot CIEL CELL

Home Equity Account Number: 4489618321280050

 

PURE eMM SUC

 

 

| lAwe the undersigned would ike to request 4 reduction in my/our home equity loan or line of credit payrnents,

Reason you are having difficulty making your payments:

See. enclesedl Cafler of erplenatio 2

 

 

 

 

How long will this difficulty last?

 

Absent a MbLeC Prymat feclechon He, fiannenl Ay Pbicultg will &
pure nents

 

How do you expect this difficulty will be resolved?

The. forvblem Lor oaly Mt pesulvedl Via ft fg men pellet?
oh fre HEtOL,

 

 

 

 

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PNC Customer Assistance
866-629-2657

Fax Number; 866-641-2691

 

CeO Ke MACE CUT

Home Equity Account Number; 4489618321280050

BORROWER AND CO-BORROWER(S) ACKNOWLEDGEMENT AND AGREEMENT

| certify, acknowledge, and agree to the following:
1. All of the Information in this Uniform Borrower Assistance Form fs truthful and the f
hardship relief,
2. The accuracy uf my statements may be reviewed by PNC, owner or guarantor of my home equity account, their agent(s), or an authorized

third party*, and | may be required to provide additional supporting documentation, | will provide all requested documents and will respand
timely to all PNC, or authorized third party*, cornmunications,

3. Knowingly submitting false information may violate Fedoral and other applicable law.

4. IF] have intentionally defaulted on my existing home equity account, engaged in fraud or misrepresented any fact(s) in connection with this
request for hardship relief or if | do not provide all required documentation, PNC may cancel any hardship relief granted and may pursue
foreclosure on my home and/or pursue any available legal remadies,

5. PNC fs net obligated to offer me assistance based Solely on the representations in this dacument or
connection with my request,

G, Emay be eligible for a trial periud plan, reage plan, or extension plan, If am eligible for one of these plans, | agree that:

a. Ail the teens of this Ackriowledgment and Agreernent are incorporated into such plan by reference as if set forth in such plan in full.
b, My first timely payment under the plan, iF applicable, will serve as acceptance of the terms set forth in the notice of the plan sent by PNC,
c. PNC's acceptance of any payments under the plan will not be a waiver of any acceleration of my hurne equity account or foreclosure
action thal has occurred and will not cure my default unless such payments ae sufficient to completely cure my entire default under my
home equity account.

d. If} qualify for and enter inte 4 modification agreement and the proporty securing my loan is ina Special Flood Hazard Area (SFHA), | agree
to the establishment of an escrow account for payment of taxes and insurance, to ba administered under the Real Eslate Settlement
Procedures Act, Unless required by law, PNC will not pay interest on the escrow amounts,

7, A condemnation notice bus not been issued for the property,

8. PNC or authorized third party* will obtain a current credit report on all borrowers obligated under the Home Equity Account,

9. PNC of authorized third party* will collect and record personal information that | submit In this Customer Hardship Assistance Package and
during the evaluation process, This personal information may include, but Is nol limited to: (a) my nano, address, telephane number, (6) my
sacial securlty number, (c) my credit score, (d) my incame, and (e) my payment histary and Information about my account balances and
activity, | understand and consent to PNC or authorized third party*, as well as any investor or quarantor (such as Fannie Mae or Freddie

Mac), disclosing my personal information and the terms of any relief or foreclosure alternative that | receive to the follawing:

a, Any investor, insurer, guarantor, or servicer that owrts, insures, quarantees, ar services my first Hon or subardinate lien (
mortgage loan(s) ar any companies that perform Support services to them,

   

hardship that! have identified contributed to my necd for

other docurnentation submitted in

if applicable)

ch WP Ly Lon wioo

Borrower's Signature Borrower's Printed Name

 

 

Co-Gorrower's Signature Co-Borrower's Printed Namo

ei tes

* Af authorized third party may Include, but is not limited ty, 6 cuunseling agency, Housing Finance Agency (EA) or other similar erilily that Ir aasinting fie if obtaining haredshig
assistance,

** roportunt Information about phone calls, texta and preracorded mesages: tat any Une, you pravice to Us contuct numbers
including but not limited Lo cell ar VolP numbers, you ure consenting to PNC, Hs affiliates and designees using an automated dialing system to call or ture you or to send
prerecorded messages to you In arder to service and calluct your personal accounttd and your business account{s) for which you are an authorized signer, but not to market ta

You, You tay withdraw the consent to ust dn automated dialing system or fo leave prerecorded messages at any tine by contacting us. For any type at phone cull with us, you
consent that the call muy be monitored or recorded by us far quailty control and lining purposes,

that ure wireless telephone numberls)

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Reasons Why | Will Have Difficulty Making Future Payments

The ist lien on this property was recently modified to terminate an ongoing foreclosure.
A subsequent increase in the city and county real estate tax bills were not accounted for
in this modification. The modification was incorrectly based on last years amounts.

The monthly payment on the 2nd lien increased in December 2015 when market
interest rates were increased. Any upcoming future increases in interest rates will
further increase the monthly payment because this loan is not a fixed rate one.

Even without any future interest rate increases the monthly payment on the 2nd lien
will increase dramatically next year, by at lease $648 per month, when the loan converts
from being interest only to amortizing over a 20 year period.

The monthly condo association assessments for both properties will be increased for
next year because the city has recently instituted a garbage collection fee and is
substantially increasing a water and sewer usage tax.

The real estate tax payment for my residence has also just increased by $200 per
month, further cutting into my monthly cash flow.

The above items have combined to create an unworkable financial situation,
Absent a payment amount decrease and fixing the interest rate on the 2nd lien, I will
not be able to continue pay this loan any longer.
 

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G2/21/2017 1:57 PM FAX 7733849001+ (21 0008/0023

NET RENTAL INCOME
1044 N. WOLCOTT, UNIT. 1, CHICAGO, IL 60622

$2,625, Gross monthly rental of $3,500 grossed-down by 25%
to cover non-occupied, repair, & upkeep expenses

$1,391 First mortgage P&l at Ocwen Loan Servicing

$713 2nd mortgage HELOC at PNC Bank

$681 1/12 of annual Rea, Estate Taxes

$176 Monthly HOA assessment

$52 1/12 of annual association special repair assessment
$75 Property insurance

$292 1/12 of annual leasing agent fee

$15.00. §=«61/12 of annual cleaning tee

$719 NET MONTHLY LOSS
 

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02/21/2017 1:58 PM FAX 7733849001+ (210609/0023

| PROPERTY VALUE FOR
1044 N. WOLCOTT, UNIT. 1, CHICAGO. IL B0g22

BPO valuation obtained by Ocwen Loan Servicing

in December 2015 $439,000.00
Ist Mortgage balance as of 8/8/2016 $421,818.00
2nd Lien PNG HELOC Balance $229, 447.00

CURRENT VALUE OF PROPERTY
AFTER SUBTRACTING LIENS <$212,265.00>
 

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02/21/2017 1:58 PM FAX 7733849091+ 0010/0023
f™, Ocwen Loan Servicing, LLC 1661, Worthington Road, Ste, 100
WWW.OCWEN.COM West Palm Beach, Fl $3409
a Helping Homeowners is What We Do! ™ Toll Free: (800) 746-2936
OOoW LN

5/18/2016 ” — ™

Loan Number: 600950857

Lori A Wigod
1735 N Paulina St Apt 601
Chicago, I. 60622-1195
Property Address:
1044 N Woleott AvetL
Chicago, IL 60622

IMPORTANT INFORMATION REGARDING YOUR IMIODIFICATION DENIAL
Pvease Reap CAREFULLY

Dear Customer(s),

You are receiving this letter because we may have previously sent you a denial letter pertaining to your application for mortgage
assistance that may not have contained the property value used in determining your eligibility. Since we might not have included the
original property value in the previous modification denial letter, wo are offering you the opportunity to dispute the modification

decision at this time, whether the decision was based on your property value or other reason. For your reference, enclosed Is a copy
of the previous denial letter.

Property value used during the review:
We verified the market value of your property as $439,000.00.

What should you do If you disagree with the reason(s) for non-approval and want to appeal?

if you disagree with the reason(s) for non-approval of any loan modification option, whether based on your property value or other
reason, you have the right to appeal. To appeal, you have 30 days from the date of this notice to send a written explanation and
supporting documentation te substantiate your findings, Please send a copy of this letter, along with any supperting documents, to:

 

Qewen Loan Servicing, LLC
Escatations Department
PO. Box 785061
Orlando, PL 32878-5061
Email: escalatedeases@acwen.com

No foreclosure sale will be conducted and you will not lose your home during this 30-day period. However, please note the
foreclosure sale may not be suspended for this 30-day period if, despite our reasonable attempts to delay the sale, the court with

jurisdiction ever the foreclosure proceedings, or the bankruptcy court in a bankruptey case, or the public official charged with
carrying out the sale fails or refuses to halt the sale.

We are sorry for any confusion or concern caused by our error and we are committed to helping you however we can.

600950857 MPV_v2.0
This communication is fram a debt collector attempting to collect a debt; any information obtained will be used for that purpose.

However, if the debt is in an active bankruptcy case or has been discharged through bankruptcy, this communication is purely

provided to you for informational purposes only with regard to our secured lien on the above referenced property. It is not intended
as an atternpt to collect a debt fram you personally.

Page 1 NMLS # 1852
 

 

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02/21/2017 1:59 PM FAX 7733849001+

View Paycheck

EPNC eon

PNG Bank NA
Two PNG Plaza

(820 Liberty Avonus
Phitsburgh, PA 16222
18779687782

 

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Address:

 

Employee 1D:

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Unit 604

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Exompt

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Sranch Mgr Sr (MLO)

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View Paycheck Page 2 of 2

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Page 1 of 2

 

 

 

 

 

 

    
  
 
 

  

   

 

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See deposit slip

 

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FAX COVER SHEET

PNC CUSTOMER HARDSHIP ASSISTANCE PACKAGE

 

FROM ~ ITO

Name: / “ed
Lehi _~. Wies? PNC LOAN SOLUTIONS
Telephone: g47/psp- aga} _[Faxto: 866-641-2691
t

 

 

 

 

Home Equity Account Number: 4489618321280050

 

 

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Case: 1:17-cv-02025 Document #: 68-1 Filed: 02/28/18 Page 20 of 24 PagelD #:667

02/21/2017 2:02 PM FAX 7733849091+

Weel cee
Dear PNC Customer:

We know how challenging it can be when you're oxperlencing dificulty in keeping your home

equity account payments current, Whether your situation Is ternporary or long-term, PNC wants to
help you.

 

To do 20, it’s Important that you begin working with us as soon as possible, That's why we're
providing you with the attached Custorner Hardship Assistanice Package, which will help us
determine whether you qualily lor hardship assistance,

Find Out What Options May Be Available

By reviewing the Customer Hurdship Assistance Package, you can start learning about the various
options that may be available to you,

In the section Utled “Hardship Assistance Options,” you'll see a description of each potential rellef
option, ag well as the eligibility requirements,

Key Facts to Keep In Mind

@ You poay or may not be eligible for a hame equity account modification ta help bring your
home equity accounl current, or other hardship relief.

@ if you are approved for hardship relief, the terms af your home equity account will change, arid
we will thoroughly review the modified hore equity account Lerms with you,

@ Depending an your specific horne equity eccount or the Investor that owns your home equity
account, only specific programs may be available.

li You may be required to complete a 3-month trial period plan to demonstrate your ability to
make consistent payments.

Let Us Help You

After you review the Customer Hardship Assistance Package, simply follaw the Instructions on the
first page and submit all your required information and documentation to help us understand the
challenges you're facing.

Once we receive and evaluate your information, we will contact you regarding your options and
next steps,

0019/0023

Bes alates 3)

i See the instructions on the first:
_ page of the Customer Hardship .
Assistance Package -

“2 Review: |

Hardship Assistance Options
@ Frequently Asked Questions

. 3. Submit required information

_.f@ Uniform Borrower Assistance
> Pormt,.which includes:
“@ incorne Documentation
i Borrower Hardship
‘information ~~
@ Copy of federal tax returns from .
the two most recent years

“NOTE: Supplying this information will

not guaranten that you qualify for
‘hardship assistance in any of our:
programs, but will provide us with the’
information te consideryoufor «

programs specifically available to your
. home equity account.. .

‘ifyou need assistance, contact us
iromediately at 866-622-2657

if you have any questions about the Customer |lardship Assistance Package or would like immediate assistance, please contact your PNC
Customer Assislance Team. We're available M-F & AM-9 PM ET, Saturday 8 AM-2 PM ET, at 866-622-2657. We are closed on Sunday.

Ifyou are currently under the protections of the Servicemembers Civil Relief Act (SCRA), you may be entitled to other benefits and
protections, You can call the Servicernember Operations Center at (844)-762-7772 for further assistance,

‘This is an attampt to collect a debt and/or enforce our lien, Any information obtained will be used for that purpose unless prohibited by
applicable law. However, if this debt has been discharged or if you are protected by the autornatic stay in bankruptcy, we are not
attempting to collect the debt from you personally, and if we have obtained relief from the automatic stay, we will only exercise Our rights
against any collateral, By providing this nolice we do not waive any applicable exemptions fram state or federal collection laws,

if you ate requesting loss mitigation, please note that nermal collection activity, collection litigation and/or foreclosure activily may continue
on your loan to the extent allowed by law while your request is being reviewed, Any information requested may be necessary lo determine

your eligibility for loss mitigation optians,
The sooner you reply, the sooner we can help!

Sincerely,
PNC Customer Assistance

NOTE: Supplying the requested Information will net guarantes you qualify for hardship assistance In any of our programs, but will provide us with the Informetion

to consider you for programs specifically avaliable te your hone equity account,
PM-O2
 

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PNC Customer Assistance
866-622-2657

Hours of Qpertion:

Morel ri: 8AM-OPM CT: Sal: 8AM-2PM ET

    

PNCCustomerHardship

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Early communication with PNC is very important to ensure your options are not limited. Please contact us as soon as possible to discuss your
financial situation and maximize your options. Completing, signing and returning the documents provided in this package is the first step.

Let's Get Started
Please review all of the pages in this package, and then make sure they're full ned wher j red. For

your conveniance you can either a) enter/type your information directly within this package, print and mall, or fax us a hard copy, or b) you
can print a blank copy, fillAwrite in your information, ard mail or fax us the hard copy. Once you provide us with this information, we can act
quickly to help, You will need to complete a package for each property needing assistance. Please be sure to write your Home Equity Account
Number on every page of docurnentation being sent to PNC,

 

Unifarrn Borrower Assistance Form

* The Uniform Horrower Assislance Form allows you to detall your particular financial hardship, plus your property, income, expenses, loans

and other essential information. Please muke sure vou fill out this org COMPLETELY,

 

Borrower Hardship Information

* You will need to include a brief description of your hardship.

Income Documentation

 

* You will need to include specific income verification documents according Lo your sources af income.

 

Submit documents nated aboveto BNC .__

Please return via one of the following methods:

FAX: ‘; MAIL:

} $66-041-2691.. | ¥ESS-01-3

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| PO Box $570 oo
“| Cleveland, Oh 44107-8658

 

 

 

 

 

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Programs That May be Available

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PNC Customer Assistance

866-622-2657 |
ms Number: 866-641-. 2691

PNC understands unforeseen cireurnstances can create financial hardship and your ability to make your home equily account payments on
time. If you are struggling or unable to make your payment, we want you to be aware of various options that may be available to you.

  

OPTION

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es ‘| payment and bya spectc date, | oduity account cunrentif you ean show you have funds
| “T that will become available on a specific date
‘Home Equity Line of. “Provides the opportunity (9 bring your! hare equity’ Allows your uccaunt te be brought current without having
Credit Re-Age — account current by making three consecutive: to pay’ your entire delinquency amount at. one time
a shonthly payments within a 90 day” period”
Horne Equity Lean: | Provides the opportunity te bring the account Allows your ACCOUNT LO. be rough nh Corent without having
Extension, current while deferring ‘the past due payr’ 1 ae yy wie delinquency amount at, ane time
oe Is accomplished. by extending the maturity date oy oo :
ithe number of payments extended 0. ; .
‘Madification:- ‘Recelve. modified terms of your home equity, vodites your xecaunt so that your paymenty or terms are.
account to make It more affordable ar manageable, more manageable me ;
You. may.be required to complete a “trial periad (
| completing a threemonth trial period. plan) - a
Short Sale “Sell your home and release the tients) by paying Allows you to transitian out o your hone without gaing
: off a portion of your home cquity aécownt balance throw igh foreclosure Lb.
“| when-you owe more an the'home than It's worth.
Alllencholders must agree to the price, You may be.
required to pay the remaining home equity acagunt
po "| Balance In adump sum.orover ime . . a . a
“Deed-in-Lieuof .. .| Transfer the ownership of your property to us ‘Allows you to transition out of your horne without going |
Foreclosure pS ne through foreciosure, This Is § useful when there are ne other |
oo liens on your property

 

 

 

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PNC Customer Assistance
866-622-2657

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1. What happens after I send the Customer Hardship Assistance Package to you?

Once we receive your Customer Hardship Assistance Package, we'll contact you within five business days to confirm (hat we have it, and
will begin reviewing the contents. Should there be any missing information or documentation you still must submit, we will send you a
notice of incompletenass,

Within 30 days after receiving your Complete Customer Hardship Assistance Package, we will let you know which hardship assistance
alternatives, if any, are avatlable to you, and also what your noxt sleps are to accept our offer.

PLEASE NOTE: We cannot guarantee that you will receive any (ora particular type off asaistonce, In addition, there is no guarantee we
can evaluate you for a hardship assistance alternative in time to stop the foreclasure sale,

2. What happens to my home equity account while you are evaluating my Customer Hardship Assistance Package?

You are still obligated to make all home equity account payments as they come due, even while we're evaluating all available assistance
options,

3. Will it cost money to review my customer hardship assistance package?

There should never be a fee from PNC or a qualified counselor whon getting help or information aboul foreclosure prevention options.
However, bocause foreclosure prevention has became a targel for scam artists, be wary of cornpanles or individuals offering to help you
for a fee.

4. What if my property Is scheduled for a foreclosure sale in the future?

Hime is of the essence and you will need ta contact PNC quickly. If you submit a complele Custerner Hardship Assistance Package and
you have a scheduled foreclosure sule, there Is no guarantee we can evaluate you for a foreclosure alternative in time ta stop the sale. A
court with jurisdiction over the foreciosure proceeding {if any) or public official charged with carrying oul the sile may not halt the
scheduled sale.

5. Where can | find more information on foreclosure prevention?

Please see Hardship Assistance Options via page 3 in this packet for mare infarmation, or coritact PNC Customer Assistance at
866-622-2657,

6. Will my credit score be affected?

We have no control aver your credit score which is created by credit reporting agencies and is based on many factors including all of your
reported credit history that Is being furnished to the credit reporting agencies.

7, How can bavold delays in processing my request?

Be sure Lo write the Hame Equity Account Number on every page of documentation that you send to PNC, Also, provide a completed
Customer Hardship Assistance package for gach property needing assistance,

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PNC Customer Assistance
866-622-2657

Fax Number: 866-641-2691

 

We may order an appraisal or valuation in conjunclion with your application to de :
appraisal or valuation depending on the owner of your loan, We will promptly give you 8 copy of any appraisal or valuation we receive, even if
your lass mitigation application is withdrawn or denied.

You may pay for an additional appraisal for your own use at your own cost should you so choose. Hyou have any questions regarding the
appraisal or valuation please contact us at 866-622-2657,

Please keep this notice with your other loan records,

 

 

 

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